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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION
IN RE:

RICHARD WILLIAM KELLARD
                                                                  CASE NO. 8:18-bk-01568-CPM
                                                                  CHAPTER 7
Debtor(s).
_________________________________/

             CREDITOR’S RESPONSE TO TRUSTEE’S MOTION TO SELL[DE-27]
                       10211 TURTLE HILL CT, TAMPA, FL 33615-1637

         WELLS FARGO BANK, N.A., (hereinafter “Creditor”) by and through its undersigned
attorney, files its Response to Trustee’s Motion to Sell [DE-27] and as grounds thereto states as
follows:

         1. The Debtor(s), RICHARD WILLIAM KELLARD filed a Chapter 7 Bankruptcy Petition on
February 28, 2018.

         2. Creditor has a security interest in real property located at 10211 TURTLE HILL CT, TAMPA,
FL 33615-1637. Said claim is based on a Note and Mortgage executed on February 23, 2007, by
Debtor in the principal amount of $52,000.00.

         3. The Debtor filed the Chapter 7 Petition and Statement of Intentions on February 28, 2018,
with the intention to surrender the subject property.

         4. Creditor filed a Motion for Relief from Stay [DE-17] on May 9, 2018.

         5. On June 6, 2018, the Court entered the Discharge of Debtor [DE-20].

         6. On June 7, 2018, the Court entered the Order Granting Motion for Relief from Stay [DE-22].

         7. The Trustee filed a Motion to Sell [DE-27] on April 11, 2019 with a sale offer of $69,000.00.

         8. The Creditor does not oppose the sale of the subject property dependent upon the following:

                a) The Creditor is paid in full subject to an official payoff, or

                b) Any sale short of a full payoff is subject the final approval by the Creditor.




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       9. Any Order submitted on the Motion to Sell must contain the above provisions.

       WHEREFORE, Creditor files this Response to Motion to Approve Sale and respectfully
requests the Court to grant same pursuant to the above mentioned requirements and any further relief it
deems appropriate.



                                                    EXL Legal, PLLC
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                                                    St. Petersburg, FL 33716
                                                    Telephone No. (727) 536-4911
                                                    Attorney for the Movant

                                                    By: /s/ Alejandro G. Martinez-Maldonado
                                                    Alejandro G. Martinez-Maldonado
                                                    FL BAR # 108112




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on April
15, 2019, by U.S. Mail and/or electronic mail via CM/ECF to:

SCOTT A ROSIN
5835 MEMORIAL HIGHWAY, SUITE 6
TAMPA, FL 33615-5005

CAROLYN R. CHANEY, TRUSTEE
PO BOX 530248
ST. PETERSBURG, FL 33747

UNITED STATES TRUSTEE - TPA7/13
TIMBERLAKE ANNEX, SUITE 1200
501 E POLK STREET
TAMPA, FL 33602

       The parties identified below were served on April 16, 2019 by U.S. Mail.



RICHARD WILLIAM KELLARD
10211 TURTLE HILL CT
TAMPA, FL 33615-1637


                                                   EXL Legal, PLLC
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                                                   St. Petersburg, FL 33716
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                                                   Attorney for the Movant

                                                   By: /s/ Alejandro G. Martinez-Maldonado
                                                   Alejandro G. Martinez-Maldonado
                                                   FL BAR # 108112




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